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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


LA UNIÓN DEL PUEBLO
ENTERO, et al.,

                       Plaintiffs,
       v.
                                                Civil Action No. 8:19-cv-02710-PX
DONALD J. TRUMP, sued in
his official capacity as President
of the United States, et al.,

                       Defendants.



MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION
FOR TEMPORARY RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       This motion seeks a temporary restraining order and/or preliminary injunction to avert

imminent and irreparable harm to Plaintiffs resulting from Defendants’ plan to cease Census

field operations and self-response on September 30, 2020.1 Plaintiffs are concurrently filing a

Motion for Expedited Briefing Schedule and Hearing on Emergency Motion for Temporary

Restraining Order and/or Preliminary Injunction. The motions can be adjudicated by a single

judge because neither challenges “the constitutionality of the apportionment of congressional

districts or the apportionment of any statewide legislative body” or is otherwise required to be

heard by a three-judge panel. 28 U.S.C. § 2284(a).2

       On August 3, 2020, Defendants announced their latest effort to manipulate the Census to

undercount and deny political representation to Latinos, Asian Americans, and non-U.S. citizens.

Defendants declared on that date that the time allotted to complete the 2020 Census would be

truncated, with an overall timeframe four months shorter than Defendants themselves previously

insisted was necessary “to ensure the completeness and accuracy of the 2020 Census.”3 This was

only Defendants’ latest attempt to exclude disfavored groups from the Census and political

representation, including through an unsuccessful effort to add a citizenship question to the 2020


1
        Plaintiffs understand that Defendants may be planning to cease field operations at the
local level even earlier, on September 16, 2020, heightening the urgency of Plaintiffs’ request on
this motion. See 2020 Census Complete Count Stakeholder Working Group, YouTube, at 16:08-
16:46 (Aug. 19, 2020), https://www.youtube.com/watch?v=Q8fnmpyINoQ&feature=youtu.be.
2
       In similar litigation in the Northern District of California, likewise involving multiple
claims related to the census process, although claims directly challenging the constitutionality of
apportionment have been assigned to a three judge panel including the Honorable Lucy H. Koh
(see No. 20-cv-05167 (N.D. Cal. 2020)), the claims related to truncation of data collection and
processing will be heard by Judge Koh alone (see No. 20-cv-0577, Dkt. 1 (N.D. Cal. 2020)).
3
       U.S. Census Bureau, Statement on 2020 Census Operational Adjustments Due to
COVID-19 (Apr. 13, 2020), https://www.census.gov/newsroom/press-releases/2020/statement-
covid-19-2020.html.


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Census and ongoing efforts (including those at issue here) to produce a block level citizenship

dataset and exclude undocumented immigrants from congressional apportionment.

        Defendants’ efforts are extensive, relentless, and fast-moving. Plaintiffs, Asian American

and Latino voters and organizations working on their behalf, therefore seek a temporary

restraining order and/or preliminary injunction barring Defendants from proceeding with their

plan to halt census field collection and self-response and deliver final population totals to the

President before completing the “actual Enumeration” required by the Constitution.4 Plaintiffs

satisfy all of the prerequisites for relief. Plaintiffs are likely to prevail on the merits of their

Enumeration Clause claim because Defendants’ truncated operational plans will violate

Defendants’ constitutional duty to conduct an “actual Enumeration” of all persons living in the

United States. As numerous authorities and Defendants’ own recent public statements make

clear, the rushed, half-baked process Defendants propose would not produce an actual

enumeration, in part because it would significantly undercount members of Plaintiffs’

communities. Such an undercount would cause Plaintiffs irreparable harm, including the loss of

political representation at multiple levels and funding for public services. Finally, because the

public interest and the balance of equities favor the “actual Enumeration” the Constitution

requires, a temporary restraining order and/or preliminary injunction should be entered barring

Plaintiffs from proceeding with their plan to cease field collection, self-response, and data

processing before completing the process Defendants themselves have identified as necessary.




4
        This motion addresses the planned truncation of census operations, which presents an
imminent threat of irreparable harm. By subsequent motion, Plaintiffs intend to seek further
injunctive relief on their claims related to Defendants’ attempt to subtract individuals from
Congressional apportionment and to create a block level citizenship dataset for redistricting.


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       Each day that passes without relief increases the likelihood that the Census will fail to

achieve the required actual enumeration—a harm that, once complete, cannot be remedied.

                                        BACKGROUND

       A.      Overview of Census and Apportionment

       The U.S. Constitution requires that an “actual Enumeration” of all persons living in the

United States be conducted every ten years. U.S. Const. art. I, § 2, cl. 3. In the Census Act of

1976, Congress charged the Secretary of Commerce with carrying out that “decennial census of

population.” 13 U.S.C. § 141(a). This count is used to determine, among other things, the

number of congressional seats assigned to each state. U.S. Const. art. I, § 2, cl. 3. Under an

accompanying statutory framework, the Secretary of Commerce reports to the President, by

January 1 of the year following the Census (here, January 1, 2021), the “tabulation of total

population by States” “as required for the appointment of Representatives in Congress.” 13

U.S.C. § 141(b). The President must transmit to Congress “the whole number of persons in each

State ... as ascertained under the ... decennial census of the population” and “the number of

Representatives to which each state would be entitled.” 2 U.S.C. § 2a(a).

       Since the adoption of the Census Act of 1976, the Census Bureau has conducted the

Census four times. Each census has begun with the mailing of self-response forms to every

household in America.5 Many households participate in the Census by returning these forms.




5
        U.S. Census Bureau, 1980 Census of Population and Housing, Chapter 5,
https://www.census.gov/prod/www/decennial.html; U.S. Census Bureau, 1990 Census of
Population and Housing, Chapter 6, https://www2.census.gov/prod2/cen1990/cph-r/cph-r-2.pdf;
U.S. Census Bureau, Census 2000 Operational Plan (December 2000), https://www.census.gov/
dmd/www/pdf/Operational2000.pdf; U.S. Census Bureau, 2010 Census Planning Memoranda
Series: 2010 Census Nonresponse Followup Operations Assessment Report (April 30, 2012),
https://www.census.gov/content/dam/Census/library/publications/2012/dec/2010_cpex_190.pdf.


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But not every household does so; in 2010, for example, nearly one in four households did not.6

Accordingly, to complete the “actual Enumeration” the Constitution requires, the Census Bureau

must conduct further field collection operations via a network of field offices. As recently

explained by the Department of Commerce Inspector General, these operations are “critical to

the success of a decennial census” because they “represent a final opportunity for the Bureau to

reach households who have not responded, including historically hard-to-count communities.”7

       In the past, the Census has included extensive field operations designed to reach every

household that did not return a self-response form through nonresponse follow-up. These have

included door-knocking to obtain responses from nonresponsive households, re-interviews to

correct discrepancies, checks of vacant housing units, and residual canvassing referred to as

nonresponse follow-up (“NRFU”) operations.8 Declaration of John Thompson, Ex. A,

(“Thompson Decl.”) ¶ 14. These operations are deliberate, thorough, and time-consuming: every

Census conducted in the past forty years has had a field operation lasting at least three months,

and one had a field operation lasting more than six months.9 As former Census Bureau Director


6
        Press Release, U.S. Census Bureau, Nation Achieves 74 Percent Final Mail Participation
in 2010 Census (Oct. 21, 2010),
https://www.census.gov/newsroom/releases/archives/2010_census/cb10-cn81.html.
7
       U.S. Dep’t of Commerce, Office of Inspector General, 2020 Census Alert: The Census
Bureau Faces Challenges in Accelerating Hiring and Minimizing Attrition Rates for Abbreviated
2020 Census Field Operations (Aug. 18, 2020), https://www.oig.doc.gov/OIGPublications/OIG-
20-041-M.pdf.
8
        See U.S. Census Bureau, Press Release, Census Bureau Activates Additional Operations
to Ensure Accurate 2020 Census Count (June 30, 2020),
https://www.census.gov/newsroom/press-releases/2020/2020-additional-operations.html
(describing planned field operations for the 2020 Census).
9
        1980 Census of Population and Housing, Chapter 5at 26, 38 (198 day field operation in
1980); 1990 Census of Population and Housing, Chapter 6 at 34, 38 (89 day field operation in
1990); 2000 Census of Population and Housing, Chapter 5 at 250, available at
https://www.census.gov/history/pdf/Census2000v1.pdf (133 day field operation in 2000); 2010



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John Thompson has testified, and Defendants have confirmed, NRFU is a vital and indispensable

step in ensuring that “hard to count” individuals, households, and communities—including

Latinos, Asian Americans, and immigrants—are actually counted in the Census.10

       Once data has been collected in the field and all NRFU steps have been completed, the

Census Bureau must process that data to ensure it generates an accurate count of the actual

persons living in the United States—a stage known as post-data collection processing or “post-

processing.” At this stage, the Bureau combines the voluminous data gathered through field

operations and analyzes it to ensure that all persons are counted and that no person is counted

twice. Declaration of Howard Hogan, Ex. B, (“Hogan Decl.”) ¶¶ 8, 10, 13. This too is an

extensive process involving discrete steps, including checking returned questionnaires for

completeness; merging self-responses received online or via paper questionnaires or the

telephone; de-duplicating multiple responses from persons who are at risk of being counted twice

based on their presence at both a primary residence and a vacation home, or at both their parental

residence and college housing; supplementing response data with administrative records for

households where NRFU was unsuccessful; imputing missing values from completed census

questionnaires, including where the number of residents was not previously documented; and

conducting multiple tabulations and review of aggregate results by Census Bureau

demographers, among others. Hogan Decl. ¶ 13. Post-processing, like the field collection

process before it, takes time to do correctly and must happen in a particular order. Hogan Decl. ¶


Census Nonresponse Followup Operations Assessment Report at 47, 108, 153, 192 (112 day
field operation in 2010).
10
        See Thompson Decl. ¶ 14 (“[H]ard-to-count populations are disproportionately
represented in the nonresponse universe. … I view a successful NRFU as one of the most
important census operations to ensuring a fair and accurate count.”); U.S. Census Bureau, 2020
Census Operational Plan—Version 4.0 (December 2018) at 212 (“The NRFU Operation is
entirely about hard-to count populations.”).


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14. The last few decennial Censuses, conducted in the past 30 years, have included a post-

processing period of four to six months.11

       Both NRFU and post-processing are necessary for an “actual enumeration” of the

population. Prior to August 3, 2020, the Operational Plan designed and implemented by the

career staff of the Census Bureau for the 2020 Census was broadly consistent with the timelines

the Census Bureau has long recognized as necessary to satisfy its constitutional obligations.

Under an operational plan released in July 2019, the Bureau planned on a NRFU period of

approximately three months (from mid-May to mid-August 2020), allowing for a data processing

period of approximately four and a half months (from mid-August 2020 to the end of

December).12 In response to the COVID-19 pandemic, Secretary of Commerce Wilbur L. Ross,

Jr. and Census Bureau Director Steven Dillingham suspended field operations in March 2020.

When the Bureau re-opened Area Census Offices in May and June 2020, it proposed maintaining

NRFU and data processing periods of similar lengths, ultimately announcing a schedule in which

primary NRFU field operations ran for approximately three months (from August 11 to the end

of October), allowing for a data processing period of approximately six months (from the end of

October to the end of April).13


11
        1990 Census of Population and Housing, Chapter 1 at 3, Chapter 6 at 38 (155 day post-
processing period in 1990); 2000 Census of Population and Housing, Chapter 1 at 5, Chapter 5 at
250 (112 day post-processing period in 2000); 2010 Census Nonresponse Followup Operations
Assessment Report at 192 and About the 2010 Decennial Census,
https://www.census.gov/programs-surveys/decennial-census/decade/2010/about-2010.html (119
day post-processing period in 2010).
12
       U.S. Census Bureau, 2002 Census Detailed Operational Plan for: 18. Nonresponse
Followup Operation (NRFU) at 2 (July 15, 2019), https://www2.census.gov/programs-
surveys/decennial/2020/program-management/planning-docs/NRFU-detailed-operational-
plan_v20.pdf.
13
     See U.S. Census Bureau, Statement on 2020 Census Operational Adjustments Due to
COVID-19 (Apr. 13, 2020), https://www.census.gov/newsroom/press-releases/2020/statement-



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       To accommodate this revised timeline, the Bureau sought approval from Congress to

delay its reporting of the “tabulation of total population by States” to the President by four

months.14 At the time, Defendants publicly committed themselves to the necessity of the

extended timeframe. In a joint statement, Secretary Ross and Bureau Director Dillingham

explained that the extension was necessary “[i]n order to ensure the completeness and accuracy

of the 2020 Census.”15 President Trump said of the extension: “I don’t know that you even have

to ask [Congress]. This is called an act of God. This is called a situation that has to be.”16

       These statements by Defendants were consistent with those of the Census Bureau’s senior

career staff, who historically have been responsible for the design and implementation of the

Census.17 In late May, Census Bureau Associate Director for Field Operations Tim Olson, who

is responsible for overseeing NRFU operations, stated that completing the required enumeration

by the end of 2020 (as Defendants’ current plan requires) would be impossible: “We have passed

the point where we could even meet the current legislative requirement of December 31. We




covid-19-2020.html; U.S. Census Bureau, Updates to 2020 Census Operations (June 12, 2020),
https://www.census.gov/newsroom/press-releases/2020/update-census-operations.html.
14
       See U.S. Census Bureau, Statement on 2020 Census Operational Adjustments Due to
COVID-19 (Apr. 13, 2020), https://www.census.gov/newsroom/press-releases/2020/statement-
covid-19-2020.html.
15
       Id.
16
        Hansi Lo Wang, Trump Officials Ask to Delay Census Data for Voting Districts, House
Seats, NPR (Apr. 13, 2020), https://www.npr.org/2020/04/13/833546675/trump-officials-ask-to-
delay-census-data-for-voting-districts-house-seats.
17
        U.S. Census Bureau, 2020 Census Operational Plan—Version 4.0 (December 2018) at 3,
https://www2.census.gov/programs-surveys/decennial/2020/program-management/planning-
docs/2020-oper-plan4.pdf (“The development of the 2020 Census Operational Plan is led by the
Decennial Census Management Division (DCMD), in particular a set of Assistant Division
Chiefs responsible for the 2020 Census operations.”).


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can’t do that anymore.”18 Associate Director for Decennial Census Programs Al Fontenot, who

oversaw the development of the 2020 decennial Census operational plan,19 echoed this point a

few months later, informing the press on July 8 that, “We are past the window of being able to

get those counts by those dates at this point.”20 Accordingly, for nearly four months, Defendants

and their officers proclaimed that counting efforts would continue into the fall, and post-

processing would continue until April 2021. Census Bureau staff continued to carry out their

operations according to the that schedule. The public, including Organizational Plaintiffs—who

are critical to reaching hard-to-count Asian American and Latino populations—relied on those

representations.21




18
       Hansi Lo Wong, “We’re Running Out Of Time”: Census Turns to Congress to Push
Deadlines, NPR (May 27, 2020), https://www.npr.org/sections/coronavirus-live-
updates/2020/05/27/863290458/we-re-running-out-of-time-census-turns-to-congress-to-push-
deadlines.
19
       See 2020 Census Operational Plan—Version 4.0 at 3 (Decennial Census Management
Division responsible for design of 2020 Census operational plan); U.S. Census Bureau,
Organizational Chart (Oct. 1, 2018), https://www2.census.gov/about/orgchart.pdf (DCMD is
supervised by the Associate Director for Decennial Census Programs).
20
        Transcript of Operational Press Briefing – 2020 Census Update, at 21 (July 8, 2020),
https://www.documentcloud.org/documents/7007573-July-8-2020-Census-Bureau-Transcript-of-
2020.html#document/p21/a573697; see also Hansi Lo Wong, Republicans Signal They Are
Willing To Cut Census Counting Short, NPR (July 28, 2020),
https://www.npr.org/2020/07/28/895744449/republicans-signal-theyre-willing-to-cut-short-
census-counting.
21
        Organizational Plaintiffs understand that some of their members mistakenly believe they
have additional time to complete the census; many members are hard to reach, and such mistaken
reliance cannot easily be cured. See Declaration of Deborah Chen, Ex. I (“Chen Decl.”) ¶ 20.
Organizational Plaintiffs have also faced unprecedented challenges to their crucial outreach
efforts because of the pandemic and the truncated timeline. See Declaration of John Park, Ex. G
(“Park Decl.”) ¶¶ 20-22; Declaration of Petra Falcon (“Falcon Decl.”) Ex. L, ¶¶ 11-16;
Declaration of Frances Valdez, Ex. H (“Valdez Decl.”) ¶¶ 10-17; Declaration of Juanita Valdez-
Cox, (“Valdez-Cox Decl.”), Ex. M, ¶¶ 24-27.



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       A few weeks ago, however, Defendants’ public posture on the time period necessary “to

ensure the completeness and accuracy of the 2020 Census” changed dramatically. On August 3,

2020, Defendants abandoned the timeline they previously had advertised as “a situation that has

to be” in favor of an approach better suited to their goal of manipulating the Census and

congressional apportionment process to, in the words of an advisor central to that effort, the late

Dr. Thomas Hofeller, benefit “non-Hispanic whites.”22 Director Dillingham announced that the

Bureau would dramatically shorten both its field data collection and self-response periods,

moving the cessation date for both of these stages from October 31 to September 30.23 This shift

came only a week before field operations were scheduled to begin. Director Dillingham further

stated that post-processing would be truncated by four months, from April 30, 2021 to December

31, 2020,24 despite statements by Defendants and their officers that an actual enumeration on this

timeline was impossible.

       Census officials are unable to explain this sudden and dramatic change. When asked why

the Trump administration now seeks to wrap up the Census quickly and report apportionment

data this year, Bureau Director Dillingham told members of Congress, “I’m not aware of all the

many reasons except to say that the Census Bureau and others really want us to proceed as

rapidly as possible and to get this—get a complete and accurate count as soon as possible.”25



22
        See “The Use of Citizen Voting Age Population in Redistricting,” at 9,
https://www.commoncause.org/wp-content/uploads/2019/05/2015-Hofeller-Study.pdf.
23
        See Statement from U.S. Census Bureau Director Steven Dillingham: Delivering a
Complete and Accurate 2020 Census Count (Aug. 3, 2020), https://www.census.gov/newsroom/
press-releases/2020/delivering-complete-accurate-count.html.
24
       Id.
25
        See U.S. House Oversight Committee, Counting Every Person: Safeguarding the 2020
Census Against the Admin’s Unconstitutional Attacks,
https://www.youtube.com/watch?v=SKXS8e1Ew7c&feature=youtu.be&t=13909 at 3:51:49.


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       B.      Defendants’ Efforts to Manipulate the Census and Apportionment Process

       For years, even as career Census Bureau staff worked to carry out a constitutional

Census, Defendants have engaged in a series of policy changes aimed at manipulating the

Census and congressional apportionment process to deny political representation to members of

Plaintiffs’ communities, including Latinos, Asian Americans, and immigrants. These efforts

have included four discrete policy changes, each trampling constitutional or statutory commands

in service of Defendants’ discriminatory agenda. The abrupt truncation of data collection efforts

and elimination of key data processing steps is merely the latest step in that long-standing effort.

               1.      Attempted Addition of Citizenship Question to the Census

       On March 26, 2018, Secretary Ross issued a decisional memorandum directing the

Census Bureau to add a citizenship question to the 2020 Census and to use federal and state

administrative records to validate census responses to the citizenship question despite being told

by the Census Bureau that doing so would negatively impact Latinos and non-U.S. citizens.

       The idea to include a citizenship question in the 2020 Census emerged from a study

prepared in August 2015 by Dr. Thomas B. Hofeller, a leading Republican redistricting strategist

and map-drawing expert for the Republican National Committee. The study, titled “The Use of

Citizen Voting Age Population in Redistricting,” concluded that “[a] switch to the use of citizen

voting age population as the redistricting population base”—excluding non-U.S. citizens from

apportionment—“would be advantageous to Republicans and non-Hispanic whites.”26 Dr.

Hofeller acknowledged in his memo that the shift from redistricting based on total population to

citizen voting-age population was a “radical departure”— and one that would alienate Latino




26
        See “The Use of Citizen Voting Age Population in Redistricting,” at 9,
https://www.commoncause.org/wp-content/uploads/2019/05/2015-Hofeller-Study.pdf.


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voters. Dr. Hofeller’s study also explained that this switch would be “functionally unworkable”

without “add[ing] a citizenship question to the 2020 Decennial Census form”27

       After President Trump’s election and inauguration, Defendants began to act on Dr.

Hofeller’s blueprint for consolidating political power through racial discrimination. As early as

the presidential transition, Trump administration officials conferred with then-Secretary of State

of Kansas Kris Kobach regarding the citizenship question.28 In a July 14, 2017 email, Mr.

Kobach reconnected with Secretary Ross to discuss the 2020 Census, writing that “it is essential”

that the citizenship question be added to the 2020 Census in order to exclude from apportionment

“aliens who do not actually ‘reside’ in the United States” and offering to help “accomplish the

addition of this question.”29 After consulting with “senior Administration officials” and Mr.

Kobach, Secretary Ross repeatedly urged staff to take action on adding a citizenship question—

which staff understood to require devising an alternative justification for adding the question that

could survive judicial scrutiny.30 Secretary Ross and the Department of Commerce solicited the

assistance first of the DOJ and then of Department of Homeland Security, before finally securing

the participation of the DOJ and then-Attorney General Jeff Sessions.31 This collaboration




27
       Id. at 4.
28
        U.S. House Committee on Oversight and Reform. White House Interference Committee
Interview of Kris Kobach, June 7, 2019, at 10, https://oversight.house.gov/sites/democrats.
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Kobach%20Interview.pdf.
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      Kris Kobach, Follow up on our phone call (2017), https://apps.npr.org/documents/
document.html?id=4500011-1-18-Cv-02921-Administrative-Record#document/p776/a428457.
30
        New York v. United States Dep’t of Commerce, 351 F. Supp. 3d 502, 549-553 (S.D.N.Y.),
aff’d in part, rev’d in part and remanded sub nom. Dep't of Commerce v. New York, 139 S. Ct.
2551 (2019), and appeal dismissed, No. 19-212, 2019 WL 7668098 (2d Cir. Aug. 7, 2019).
31
       Id. at 554-556.


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resulted in a letter from the DOJ requesting the addition of the question to the 2020 Census for

the purposes of enforcing the Voting Rights Act of 1965 (the “DOJ Letter”).32

        The DOJ Letter included phrasing from Dr. Hofeller’s study and incorporated the

substantive content of communications between Commerce and DOJ, as well as the head of

President Trump’s transition team. Secretary Ross falsely claimed that the reason for adding the

citizenship question was to collect citizenship data to assist the DOJ in its enforcement of the

Voting Rights Act, although the true rationale was instead to deprive racial and ethnic minorities

of political power through the census process.33 President Trump himself confirmed that,

contrary to the purported goal of assisting the DOJ with enforcement of the Voting Rights Act,

the “[n]umber one” reason to add a citizenship question to the Census was congressional

districting.34

        Several lawsuits successfully challenged this addition of the citizenship question as

unlawful, and three federal courts permanently enjoined its addition to the 2020 Census. See

Kravitz v. Dep’t of Commerce, 366 F. Supp. 3d 681, 755 (D. Md. 2019); California v. Ross, 358

F. Supp. 3d 965, 1050 (N.D. Cal. 2019); New York v. Dep’t of Commerce, 351 F. Supp. 3d 502,



32
        Id.
33
         Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575 (2019) (“Altogether, the evidence
tells a story that does not match the explanation the Secretary gave for his decision. … [H]ere
the VRA enforcement rationale—the sole stated reason—seems to have been contrived.”);
Michael Wines, Deceased G.O.P. Strategist’s Hard Drives Reveal New Details on the Census
Citizenship Question, N.Y. Times (May 30, 2019), https://www.nytimes.com/2019/05/
30/us/census-citizenship-question-hofeller.html.
34
         The White House, Remarks by President Trump Before Marine One Departure, July 5,
2019, https://www.whitehouse.gov/briefings-statements/remarks-president-trump-marine-one-
departure-51 ( “Q: What’s the reason, Mr. President, for trying to get a citizenship question on
the census?; THE PRESIDENT: Well, you need it for many reasons. Number one, you need it
for — ; Q: (Inaudible) reason?; THE PRESIDENT: — Congress. You need it for Congress, for
districting.”).


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679 (S.D.N.Y.), aff’d in part, rev’d in part and remanded sub nom. Dep’t of Commerce v. New

York, 139 S. Ct. 2551 (2019). During the litigation, the Trump Administration stood by

Secretary Ross’s pretextual rationale, denying that the addition of the citizenship question was

directed at congressional apportionment as “a speculative conspiracy theory that is unsupported

by the evidence.”35 On June 27, 2019, the United States Supreme Court affirmed the injunction,

concluding that the “VRA enforcement rationale—the sole stated reason [for adding a citizenship

question]—seems to have been contrived.” Dep’t of Commerce v. New York, 139 S. Ct. 2551,

2575 (2019). Nevertheless, the effects of Defendants’ attempts to include a citizenship question

in the Census continue to reverberate, exacerbating fear, mistrust, and reluctance to respond to

the Census among communities of color and immigrant communities. Chen Decl. ¶¶ 20-24;

Park Decl. ¶¶ 14-16. This has compounded the difficulty of reaching hard-to-count communities

and required additional efforts on the part of community stakeholders, efforts that will be

thwarted by the truncated timeline. Chen Decl. ¶¶ 19-23.

               2.     Collection of Citizenship Data Through Other Sources

       Undaunted, Defendants pursued a second strategy: equipping states to use block level

citizen voting-age population (CVAP) data as a basis for congressional and state redistricting.

On July 11, 2019—two weeks after the Supreme Court’s decision on the citizenship question—

President Trump issued an executive order requiring all executive departments and agencies to

provide the Department of Commerce “maximum assistance … in determining the number of

citizens and non-citizens in the country.” Executive Order on Collecting Information about

Citizenship Status in Connection with the Decennial Census (EO 13880), at § 1 (July 11,


35
       Letter from Noel J. Francisco, Solicitor General, to Honorable Scott S. Harris, Clerk,
Supreme Court of the United States (June 25, 2019), https://www.supremecourt.gov/DocketPDF/
18/18-966/103988/20190625110441312_Letter%20Response%2018-966.pdf.


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2019).36 EO 13880 also instructed the Census Bureau to create an inter-agency working group to

collect citizenship data in connection with the 2020 Census for redistricting and directed the

Department of Commerce to obtain federal and state administrative records to support this effort.

Id. at §§ 1, 3(b), 3(d). In support of these directives, EO 13880 listed several pretextual reasons

for collecting citizenship data, including: (1) “to help us understand the effects of immigration

on our country and to inform policymakers considering basic decisions about immigration

policy”; (2) “the lack of complete data on numbers of citizens and aliens hinders the Federal

Government’s ability to implement specific programs and to evaluate policy proposals for

changes in those programs”; and (3) “data identifying citizens will help the Federal Government

generate a more reliable count of the unauthorized alien population in the country,” which is

necessary to “evaluat[e] many policy proposals.” EO 13880 at § 1.

       But the order also revealed the true reason for its issuance and Secretary Ross’s prior

decision to add a citizenship question to the 2020 Census: so that “State and local legislative

districts [can redistrict] based on the population of voter-eligible citizens.” EO 13880 at § 1. On

the day he issued the order, President Trump corroborated that intent, saying that “[t]his

information is also relevant to administering our elections” because “[s]ome states may want to

draw state and local legislative districts based upon the voter-eligible population,” and that the

Supreme Court “would not review certain types of districting decisions, which could encourage

states to make such decisions based on voter eligibility.” Id.




36
       Available at https://www.whitehouse.gov/presidential-actions/executive-order-collecting-
information-citizenship-status-connection-decennial-census.


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                 3.      Exclusion of Undocumented Persons from Apportionment Totals

        On July 21, 2020, President Trump issued a presidential memorandum declaring that it is

“the policy of the United States to exclude from the [congressional] apportionment base aliens

who are not in a lawful immigration status under the Immigration and Nationality Act.”

Memorandum on Excluding Illegal Aliens from the Apportionment Base Following the 2020

Census (“Memorandum”), 85 Fed. Reg. 44,679-80 (July 23, 2020). The Memorandum reflects a

radical departure from long-established policy and practice. Every prior apportionment under

the current statutory framework has included the total U.S. population, including undocumented

individuals, in the apportionment totals presented to Congress. The Memorandum is also

facially inconsistent with the Constitution’s clear command that “the whole number of persons in

each State, excluding Indians not taxed,” be counted. U.S. Const. amend. XIV, § 2 (emphasis

added); see id. art. I, § 2, cl. 3.

        To advance this policy, the Memorandum stated that the President will exclude “aliens

who are not in a lawful immigration status” from his calculation of the “whole number of

persons in each State” to “settle[] the apportionment of Representatives among the States.” 85

Fed. Reg. 44,679-80 (July 23, 2020) (internal citation and quotation marks omitted). President

Trump’s official statements accompanying the release of the Memorandum demonstrate that the

purpose of the policy is not to advance principles of representative democracy, but to

discriminate against undocumented individuals, non-U.S. citizen immigrants more generally, and

U.S. citizens who live near undocumented individuals. President Trump declared that the policy

was needed because “the radical left is trying to erase the existence of this concept [of U.S.

citizenship] and conceal the number of illegal aliens in our country” as part of “a broader left-




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wing effort to erode the rights of Americans citizens.” According to the President, “we should

not give political power to people who should not be here at all.”37

       The Presidential Memorandum has further discouraged communities of color from

participating in the Census. As one expert testified, the Memorandum “will almost certainly

increase the number of people unwilling to share their name.” Hogan Decl. ¶ 33; see also Park

Decl. ¶ 16; Chen Decl. ¶ 24.

               4.     Truncation of Census Field Collection and Data Processing

       On August 3, 2020, Defendants’ efforts to manipulate the Census and apportionment

process reached the operational plans for the 2020 Census. On that date, Census Bureau Director

Dillingham announced that the Census Bureau would depart from the plan and timeframe it

previously had characterized as necessary to its mission, and instead shorten by four weeks its

field operations and the self-response period—providing a mere 52 days to ensure that

households that had not yet responded to the Census are included in the count.38 Again,

Defendants had previously budgeted 90 days for field operations, which in prior census years

required as long as six months to complete.39 Thompson Decl. ¶ 23. Director Dillingham stated

that the post-processing period—which is “necessary to produce accurate Apportionment


37
       The White House, Statement from the President Regarding Apportionment (July 21,
2020), https://www.whitehouse.gov/briefings-statements/statement-president-regarding-
apportionment.
38
        See Statement from U.S. Census Bureau Director Steven Dillingham: Delivering a
Complete and Accurate 2020 Census Count (Aug. 3, 2020), https://www.census.gov/newsroom/
press-releases/2020/delivering-complete-accurate-count.html; U.S. Gov’t Accountability Office,
2020 Census: Recent Decision to Compress Timeframe Poses Additional Risks to an Accurate
Count (Aug. 2020), at 5, https://www.gao.gov/assets/710/709015.pdf.
39
       U.S. Census Bureau, 2002 Census Detailed Operational Plan for: 18. Nonresponse
Followup Operation (NRFU) at 2 (July 15, 2019), https://www2.census.gov/programs-
surveys/decennial/2020/program-management/planning-docs/NRFU-detailed-operational-
plan_v20.pdf. See infra n.8.


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Counts,” Hogan Decl. ¶ 14—would be truncated by four months, from April 30, 2021 to

December 31, 2020. This change will force the Census Bureau to complete a time-consuming

multi-step post-processing procedure within a time frame two months shorter than that budgeted

before the COVID-19 pandemic—“an enormous if not impossible task.” Hogan Decl. ¶ 57.

       The truncated census operations are a sharp reversal from prior practice and are likely to

lead to a significant undercount of members of Plaintiffs’ communities, including Latinos, Asian

Americans, and immigrants. NRFU field operations are essential for counting households that

do not self-respond to the census questionnaire, a greater proportion of which tend to be minority

households. In the 2010 Census, for example, Non-Hispanic White households self-responded

via mail at a rate of 82.5 percent, whereas Hispanic households self-responded at a rate of 69.7

percent, Black households self-responded at a rate of 70 percent, Asian American households

self-responded at a rate of 75.4 percent, and other communities of color self-responded at even

lower rates.40 Racial and ethnic minorities also are over-represented in the census tracts that are

hardest to count—meaning those with the lowest self-response rates. Nearly 66 percent of the

population in the hardest to count tracts are minorities, even though they are only 39.8 percent of

the population. Declaration of William O’Hare (“O’Hare Decl.”), Ex. C, ¶ 109. As the

Department of Commerce Inspector General observed, NRFU “represent[s] a final opportunity

for the Bureau to reach households who have not responded, including historically hard-to-count

communities.”41


40
       U.S. Census Bureau, 2010 Census Planning Memoranda Series: 2010 Census Mail
Response/Return Rates Assessment Report at 24, 26 (June 6, 2012), https://www.census.gov/
content/dam/Census/library/publications/2012/dec/2010_cpex_198.pdf.
41
       U.S. Dep’t of Commerce, Office of Inspector General, 2020 Census Alert: The Census
Bureau Faces Challenges in Accelerating Hiring and Minimizing Attrition Rates for Abbreviated
2020 Census Field Operations (Aug. 18, 2020), https://www.oig.doc.gov/OIGPublications/OIG-
20-041-M.pdf.


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       This year, in the midst of a global pandemic and a series of natural disasters including

hurricanes and wildfires, Census staff face an especially enormous—and daunting—task: to visit

and attempt to enumerate approximately 56 million addresses that have not yet responded to the

Census42 and to do so in the shortest field operations period in modern Census history. This is a

full 8 million households more than the Census Bureau sought to enumerate through NRFU in

2010, and Census staff must do so in 7 weeks instead of 10 weeks. O’Hare Decl. ¶ 116. On top

of this, the Bureau is facing a staffing shortfall of some 80,000 enumerators—more than one-

quarter of those the Department sought to hire for the NRFU process.43 In fact, the Department

of Commerce Inspector General warned on August 18 that because of this staffing shortfall, “the

Bureau is at risk of not conducting a complete and accurate 2020 Census.”44 Former-Census

Bureau Director Thompson has testified that, based on his experience, the compressed timeline

“will not be adequate to complete NRFU without accepting lower quality enumerations and

incompletely enumerating the traditionally hard-to-count populations.” Thompson Decl. ¶ 21.

       These issues are compounded in immigrant communities such as those in Queens

County, New York; Maricopa County, Arizona; Harris County, Texas; and the Rio Grande

Valley of Texas,45 where facility in languages other than English is necessary for effective


42
       U.S. Census Bureau, Door-to-Door Visits Begin Nationwide for 2020 Census (Aug. 11,
2020), https://www.census.gov/newsroom/press-releases/2020/door-to-door-visits-begin-
nationwide.html.
43
       U.S. Dep’t of Commerce, Office of Inspector General, 2020 Census Alert: The Census
Bureau Faces Challenges in Accelerating Hiring and Minimizing Attrition Rates for Abbreviated
2020 Census Field Operations (Aug. 18, 2020), https://www.oig.doc.gov/OIGPublications/OIG-
20-041-M.pdf.
44
        Id. See also Thompson Decl. ¶ 32.
45
       The Rio Grande Valley encompasses Cameron County, Hidalgo County, Starr County,
and Willacy County, substantially rural areas along Texas’s southern border. Queens County is
wholly subsumed within New York City. Harris County includes the City of Houston, Texas,



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communication with many residents. Chen Decl. ¶ 18 (Organizational Plaintiff has traditionally

circulated outreach materials in “Mandarin, Cantonese, Vietnamese, Spanish, Burmese, Arabic,

Korean, Urdu, and Tagalog”); Park Decl. ¶ 18; Valdez Decl. ¶¶ 8-9; Falcon Decl. ¶ 7. A Census

Bureau policy barring non-citizens from serving as translators has dramatically limited the

applicant pool and compounded the challenges the Bureau faces in contacting hard-to-count

populations. Chen Decl. ¶ 17; Park Decl. ¶ 19. Moreover, given the severely compressed

timeframe for NRFU, allied stakeholders whose mission includes promoting census participation

among communities of color—and whose efforts in so doing have historically been very

effective—will not have the time or the resources to conduct outreach campaigns with normal

efficiency or effectiveness, particularly in light of the COVID-19 pandemic. Chen Decl. ¶¶ 19-

21; Park Decl. ¶¶ 17-26; Valdez ¶¶ 13-17; Falcon Decl. ¶¶ 17-21.

         Similarly, Defendants’ elimination of four months of post-processing following the

completion of NRFU strips Census Bureau professional staff of the time they need (as

Defendants earlier acknowledged) to satisfy the Bureau’s duty “to count everyone once, only

once, and in the right place.” Hogan Decl. ¶ 8. The Census Bureau has spoken of

“[s]treamlining backend processing to deliver apportionment counts by … December 31, 2020,”

but have provided no information on which steps will be rushed, or skipped entirely. Hogan

Decl. ¶ 16. Post-processing is a detailed, multi-step process. Skipping steps will create

unacceptable risk of serious error, preventing an actual enumeration and further exacerbating the

differential undercount of Plaintiffs’ communities. Hogan Decl. ¶¶ 9, 14, 21, 38, 43, 51, 59, 69.




and is the third-most populous county in the United States. Maricopa County includes the City
of Phoenix, Arizona, and is the fourth-most populous county in the United States.


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       Early cessation of data collection and the compression of the data processing phase

continues Defendants’ efforts to exclude minority populations from the 2020 Census count and

virtually ensures that those communities that have seen low response rates to date will be

undercounted. See infra Argument, I.A-B. As the Census Bureau is well aware, those

communities currently include—and have historically included—Black, Latino, Asian American,

and immigrants households. Indeed, racial and ethnic minority communities have had lower

self-response rates than white households in the past three censuses, and these lower self-

response rates are correlated with higher net undercount rates and omission from the final census

count.46 O’Hare Decl. ¶¶ 29-91, 100. Furthermore, in 2010, and again in 2020, housing units

that respond later in the Census data collection period have been disproportionately Latino,

Asian American, and Black rather than Non-Hispanic White, making the end of the self-response

period and NRFU (both of which have been truncated here) particularly important for counting

these households. O’Hare Decl. ¶¶ 101-111. And the curtailment of the post-processing period

will make it impossible for the Bureau’s professional staff to complete the intricate data cleaning

and processing functions that are essential to achieve an actual enumeration, leading to an

undercount that disproportionately affects areas with minority populations. Hogan Decl. ¶ 14.

In short, there is a grave and immediate risk that, should the Census conclude on the Department

of Commerce’s current timeline, those communities will be undercounted and, as a result,



46
         Net undercount and omission rates are “both measures of Census accuracy, but they
capture different parts of Census accuracy.” O’Hare Decl. ¶ 17. The net undercount is a balance
between people missed (omissions), those included erroneously (those double counted and those
inappropriately included in the census, like foreign tourists), and those imputed. If the number of
omissions is higher than the number of erroneous inclusions and whole person imputations, there
is a net undercount. Id. ¶ 18. Omissions capture the number and share of a population that are
missed in the Census and are defined by the Census Bureau. In other words, “omissions are
people who should have been enumerated in the United States Census but were not.” Id. ¶ 20.


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politically underrepresented for at least the next decade. Hogan Decl. ¶¶ 21, 38, 43, 51, 59, 69;

Thompson Decl. ¶¶ 3-4, 13, 21, 22, 32; O’Hare Decl. ¶¶ 95-100, 111, 121-127; Declaration of

Kimball W. Brace (“Brace Decl.”), Ex. E, ¶¶ 32-33.

                                       LEGAL STANDARD

        Emergency injunctive relief—here, a TRO and/or preliminary injunction—is warranted

where a movant demonstrates, by a preponderance of the evidence, the following elements: “(1)

a likelihood of success on the merits; (2) a likelihood of suffering irreparable harm in the absence

of preliminary relief; (3) that the balance of equities tips in the party’s favor; and (4) that issuing

the injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

(2008); Maages Auditorium v. Prince George’s Cty., Md., 4 F. Supp. 3d 752, 760 & n.1 (D. Md.

2014), aff’d, 681 F. App’x 256 (4th Cir. 2017).

                                            ARGUMENT

I.      Plaintiffs Are Likely to Succeed in Establishing that the Truncation of Census
        Operations Violates the Enumeration Clause

        Plaintiffs are likely to succeed on the merits of their claim that Defendants’ truncation of

Census operations violates the Enumeration Clause of the Constitution. The testimony of

Plaintiffs’ experts (including a former Director of the Census Bureau), publicly available data

from the current Census and historical censuses, and the public statements of Defendants

themselves demonstrate that communities of color, including Latinos, Asian Americans, and

immigrants, are likely to be severely undercounted in the 2020 Census if Defendants are allowed

to proceed with their truncated—and unconstitutional—census plan. Hogan Decl. ¶¶ 21, 38, 43,

51, 59, 69; Thompson Decl. ¶¶ 3, 13, 21, 22, 32; O’Hare Decl. ¶¶ 125-127.




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       A.      The Bureau Cannot Complete an Accurate Count on the Current Timeline,
               And Plaintiffs And The Communities They Represent Will Be Undercounted

       The Census Bureau’s procedures for data collection and processing are necessarily time-

intensive and labor-intensive. As explained above, accurate tabulation and verification of census

data has traditionally required a minimum of three months, while post-processing has typically

taken four to six months. Historically, these processes, especially NRFU, have been essential to

ensuring that minority households are counted accurately. Yet Defendants, amid a pandemic,

natural disasters, and staffing shortfalls, have elected to administer the shortest field operation in

modern history and to cut the post-processing period perilously short, virtually guaranteeing that

the total U.S. population, and particularly minority households, will be undercounted.

       Defendants’ own public statements, and those of their officers, confirm that, in view of

the COVID-19 pandemic and its effect on the census count, an accurate count cannot be

completed within the current time frame. See supra 7-8. These well-documented concerns are

further confirmed by the testimony of former Census Director John Thompson. The prior

operational plan for the 2020 Census estimated that conducting an adequate enumeration would

require about 300,000 enumerators over the course of about 80 days. Thompson Decl. ¶¶ 16, 21.

Defendants’ new plan, however, reduces that time period to 52 days—subtracting more than 30

percent of the time that the Bureau initially allocated for field operations.47 At the same time, as

of August 17, the Bureau has only recruited and trained about 220,000 enumerators, meaning

that the Bureau’s staffing for the NRFU phase is lagging by more than 27 percent for this vital

phase of the process. Thompson Decl. ¶ 21. Moreover, approximately 15 percent of the NRFU



47
        U.S. Gov’t Accountability Office, 2020 Census: Recent Decision to Compress
Timeframe Poses Additional Risks to an Accurate Count (Aug. 2020), at 5,
https://www.gao.gov/assets/710/709015.pdf.


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workload is located in areas where the Bureau is falling 50 percent short of its hiring goals. Id.

The Bureau is also experiencing higher-than expected attrition among enumerators. According

to the U.S. Government Accountability Office (GAO), the Bureau expected that 10 percent of

enumerators that started training would not show up for work in the field, but as of August 18,

approximately 35 percent of employees that started training did not show up.48

       To make matters worse, NRFU workloads will be relatively higher in areas with lower

self-response rates—areas that contain higher proportions of Black, Latino, and immigrant

populations relative to the white non-Hispanic population—making it even more difficult to

obtain an accurate enumeration of these populations given Defendants’ extraordinary decision to

truncate field operations. Thompson Decl. ¶ 21-22. As former Director Thompson has testified,

this reduced staffing, combined with the truncated timeframe, will “not be adequate to complete

NRFU without accepting lower quality enumerations and incompletely enumerating the

traditionally hard-to-count populations,” leading to “increased undercounts.” Id. ¶ 21.

       The NRFU operation, which is the most expensive and labor-intensive phase of the

Census, is challenging under any conditions. But it is likely to be even more challenging in 2020

because COVID-19 has diminished the efficacy of door-knocking, as many Americans are

reluctant to interact with strangers, and families residing in dense communities or high-density

housing have relocated to permit social distancing.49 See Hogan Decl. ¶ 43, 58; Park Decl. ¶¶

20, 24-26. Also, as the GAO has noted, “a shorter NRFU operation gives these efforts less time

to motivate response among hard-to-count populations.”50 The truncated NRFU process likely



48
       Id. at 8.
49
       Id. at 17.
50
       Id.


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will be unable to compensate for the significant undercount anticipated (and already witnessed)

in communities of color. Park Decl. ¶¶ 14, 27; Chen Decl. ¶¶ 19, 25.

       Defendants’ abrupt curtailment of the self-response period by four weeks is also likely to

produce a differential undercount of minority populations compared to white households. Non-

Hispanic Whites have constituted a disproportionately large share of the responses early in the

data collection period, while Latino (whom the Census terms “Hispanics”), Asian Americans,

and Black respondents make up a disproportionately large share of the response near the end of

the data collection period. O’Hare Decl. ¶¶ 101-111. The truncation of the self-response period,

along with a curtailed NRFU operation, is likely to result in more Latino, Asian American, and

Black households being missed, id. ¶ 111, preventing an actual enumeration of these populations.

        As a result of Defendants’ truncation of field operations, the Census Bureau will have to

rely less on direct in-person contact attempts to reach non-responsive households and instead

rely on other measures to estimate the population. Although these methods play an important

role in census operations, they have serious limitations and cannot compensate for a truncated

and incomplete NRFU. Over-reliance on these methods is likely to contribute to a more severe

undercount of hard-to-count populations than in past recent censuses. Thompson Decl. ¶¶ 21-24;

Hogan Decl. ¶¶ 9, 38, 43, 47, 50, 52, 59-60; Declaration of Amy O’Hara (“O’Hara Decl.”), Ex.

D, ¶¶ 5, 11-24. For example, the Bureau may rely more heavily on proxy enumerations, which

are obtained by asking people other than the residents of non-responsive households (e.g.,

neighbors or apartment managers) for information. Thompson Decl. ¶ 21; O’Hara Decl. ¶ 11.

Proxy enumerations, however, have a high error rate. In the 2010 Census, the erroneous

enumeration rate for the proxy enumeration was 6.7 percent—over twice the overall rate of 3.3

percent. Thompson Decl. ¶ 21. Moreover, truncated field operations will limit the Bureau’s




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ability to obtain proxy responses for non-responsive housing units, making this an even less

effective substitute for a complete NRFU. O’Hara Decl. ¶¶ 6(a), 11.

       The Bureau may turn to administrative records, such as records from the IRS, Medicare,

or the Social Security Administration, to enumerate non-responsive households. O’Hara Decl.

¶¶ 12-15, 23. But these records have significant limitations. For example, individual income tax

data, on which the Bureau plans to rely, will miss many individuals, including all those not in the

labor force and most children. O’Hara Decl. ¶¶ 12-13, 22. Such data may be especially

unreliable for a year in which IRS processing was dramatically disrupted by the pandemic.

O’Hara Decl. ¶ 13. Moreover, although the Census Bureau has long planned to use

administrative records to enumerate a certain portion of non-responsive households, expanded

use of those records to compensate for a truncated NRFU is not supported by the research the

Bureau has used to date. Thompson Decl. ¶ 21; O’Hara Decl. ¶¶ 5-6, 11, 20-24. Instead, Bureau

research has shown that administrative records are not a substitute for NRFU, especially for

Latinos, Asian Americans, and immigrants. Thompson Decl. ¶ 21; Hogan Decl. ¶ 52; O’Hara

Decl. ¶¶ 21, 23. Thus, use of administrative records beyond the planned levels for NRFU would

be even less representative of the hard-to-count populations than a complete NRFU. Thompson

Decl. ¶ 21; O’Hara Decl. ¶¶ 21, 23-24.

       Finally, the Bureau will likely rely more heavily on a statistical technique known as

“imputation” to fill in information for non-responsive households. Thompson Decl. ¶ 21. This

technique imputes household size and other characteristics to non-responsive households based

on information from resolved housing units. Thompson Decl. ¶ 21; O’Hara Decl. ¶ 5. Its

accuracy is dependent on robust fieldwork, however, because any undercounts of resolved

housing units are carried forward in the imputation and not corrected. Thompson Decl. ¶ 21;




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O’Hara Decl. ¶¶ 13-14, 18-19. Historically, the percent of count imputations used in the Census

has fluctuated but has tended to be less than 0.5 percent. Hogan Decl. ¶ 55. The number of

housing units requiring whole person imputation (and thus the ratio of imputation to fieldwork)

is likely to be much larger than in 2010, due to the reduction in field operations and staff

limitations, increasing the likelihood of an undercount that would impact minorities

disproportionately. Thompson Decl. ¶ 21; Hogan Decl. ¶¶ 56, 59-61.

       The truncation of field operations is not the only aspect of Defendants’ plan that will

harm minority communities. The Census Bureau’s compressed timeline for post-processing, and

likely shortening or elimination of several critical steps in the data verification process, will

ensure that data inaccuracies will persist, making it likely that minority households will be

undercounted at higher rates than other groups. Hogan Decl. ¶¶ 9, 60-61, 64-66. For example,

this month the Census Bureau quietly informed states and territories that it plans to eliminate the

final phase of Count Review—called Census Count and File Review—the operation that helps

the Bureau spot anomalies and unexpected results in the preliminary housing unit and population

counts (including group quarters) before they are finalized, while they can still be fixed.51 This

is an essential step because, as Plaintiffs’ experts have testified, NRFU proxy responses are

universally acknowledged to be less accurate than self-responses. Thompson Decl. ¶ 21.

       Beyond exacerbating the undercounting of Plaintiffs’ communities, the Bureau’s plan

may necessitate limiting the process of de-duplication—that is, correcting for the “overcounting”



51
        Hansi Lo Wang, Running Out of Time, Census Scales Back a Critical Step: Checking Its
Own Work, NPR (Aug. 29, 2020), https://www.npr.org/2020/08/29/905846761/the-census-
scales-back-a-critical-step-checking-its-own-work; Jeffrey Mervis, Will the 2020 census
numbers be good enough, and how soon will we know?, SCIENCE (Aug. 24. 2020),
https://www.sciencemag.org/news/2020/08/will-2020-census-numbers-be-good-enough-and-
how-soon-will-we-know.


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of certain U.S. residents. The 2010 Census saw 8.5 million duplicate responses, up from 6.6

million in the 2000 Census.52 Duplication occurs in a number of circumstances, as, for example,

when people own multiple homes, or college students are counted both at school and at their

parents’ homes. Hogan Decl. ¶¶ 25-48. These scenarios occur disproportionately in wealthier

communities, and are less likely to occur in communities of color. See Hogan Decl. ¶¶ 38, 43.

The Bureau has the ability to identify such duplicate enumerations, but it needs “time to study

the problem, identify solutions and implement the corrections.” Hogan Decl. ¶ 39. In short, any

efforts to skip post-process steps or rush them—which the Bureau has acknowledged will be

necessary under the truncated operational plan53—is likely to result in errors and, consequently,

an undercount that disproportionally affects areas with minority populations. Hogan Decl. ¶ 14.

       B.      Response Rates and Undercounting

       Many of the communities in which Plaintiffs reside have already observed low response

rates. See, e.g., Declaration of Gerardo E. Gonzalez (“Gonzalez Decl.”), Ex. T, ¶¶ 9-12. Latino

communities in particular have historically experienced low response rates relative to other

communities. See supra 20, 23. The 2020 Census is following the same pattern. As of August

24, 2020, Census tracts where Latino and Black residents are a plurality have lower self-response

rates than tracts where Non-Hispanic Whites are a plurality. O’Hare Decl. ¶ 100. Furthermore,

as of August 24, Asian American plurality tracts in the largest cities of metropolitan areas (over



52
        U.S. Census Bureau, Census Coverage Measurement Estimation Report (May 22, 2012),
at 12 tbl. 3, https://www2.census.gov/programs-surveys/decennial/2010/technical-
documentation/methodology/g-series/g01.pdf.
53
        Albert E. Fontenot, Jr. & Timothy P. Olson, Review of 2020 Operational Plan Schedule,
U.S. Census Bureau, at 9 (Aug. 17, 2020),
https://www.census.gov/content/dam/Census/newsroom/press-kits/2020/2020-operational-plan-
schedule-review.pdf (noting the need to “[s]treamlin[e] backend processing to deliver
apportionment counts by the statutory deadline of December 31, 2020”).


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1 million) have a mean self-response rate of 58.8 percent, well below the national response rate

of 64 percent, and the mean self-response rate for Asian American plurality tracts in rural areas

(56.9 percent) is well below the national average. O’Hare Decl. ¶ 80. These trends indicate that

Latino, Asian American, and Black households are on a trajectory to have higher net undercounts

and omissions rates in the 2020 Census when compared to Non-Hispanic White households.

O’Hare Decl. ¶¶ 77, 80, 91. The truncated NRFU period means that there will be less time

available to contact and count individuals in these demographic groups with the lower self-

response rates and ensure that they are enumerated in the 2020 Census. O’Hare Decl. ¶ 111.

       Several Plaintiffs reside in communities with low response rates and thus are likely to be

undercounted. As just a few examples:

           •   Plaintiff Juanita Valdez-Cox lives in Hidalgo County, Texas, where the 2010
               census response rate was 55.9 percent. Valdez-Cox Decl. ¶ 48. When door-
               knocking follow-up began on August 9, 2020, Hidalgo County’s self-response
               rate was 48.5 percent, 7.4 points behind its final 2010 rate, and well behind the
               statewide rate. Valdez-Cox Decl. ¶ 51. As of August 30, Hidalgo County’s
               response rate was 51.4 percent, 3.5 percentage points behind its final 2010 rate
               and well behind the current 2020 national self-response rate of 64.9 percent.

           •   Plaintiffs Debbie Chen and many members of OCA-GH live in Harris County,
               Texas, the most populous county in the nation’s second-most populous state (and
               the third-most populous county anywhere in the United States). When door-
               knocking follow-up began on August 9, 2020, Harris County’s self-response rate
               was 57.7 percent, 7.4 percentage points behind its final 2010 rate of 65.1 percent.
               As of August 30, Harris County’s response rate was 59.9 percent, 5.2 percent
               behind its final 2010 rate of 65.1 percent and well behind the current 2020
               national self-response rate of 64.9 percent.

           •   Plaintiff John Park is a resident of Queens County, New York. When door-
               knocking follow-up began on August 9, 2020, Queens County’s self-response rate
               was 55.1 percent, 5.7 percent behind its 2010 response rate. As of August 30,
               Queens County’s response rate was 58.8 percent, 2.0 percent behind its final 2010
               rate of 60.8 percent and well behind the current 2020 national self-response rate
               of 64.9 percent.

           •   Plaintiff Candy L. Gutierrez lives and votes in Yakima County,
               Washington. Declaration of Candy Gutierrez (“Gutierrez Decl.”), Ex. Q ¶¶ 2-6.
               Although the self-response rate of the county at large as of August 30 is 64.6


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               percent, slightly behind the national average and just over four percentage points
               behind the county’s 2010 response rate, the Yakama Nation tribe, comprising a
               substantial portion of the district’s population, has a 52.7 percent response rate,
               well behind its 2010 response rate of 58.1 percent and the current national rate of
               64.9 percent. It is extremely likely that the Yakama Nation population will be
               severely undercounted in the census, and that non-White residents of Yakima
               County will therefore be undercounted as a group.

           •   Plaintiff Petra Falcon, a member of Promise Arizona (PAZ) in Maricopa County,
               Arizona, lives and votes in South Phoenix, an area of Maricopa County.
               Although Maricopa County has a higher-than-average response rate as of this
               writing, Arizona’s Seventh Congressional District, a majority-Latino district
               encompassing South Phoenix, has a response rate of 54.1 percent as of August 30,
               2020, trailing its 2010 response rate of 57.5 percent and substantially behind the
               national response rate of 64.9 percent.

       Plaintiffs have attested to the practical difficulties of data collection and fieldwork amid

the COVID-19 pandemic, the diversity of languages spoken in Latino and Asian American

communities and the challenges that such diversity presents to enumerators, and the adverse

effects that the truncated data collection period will have upon census response outreach efforts.

Gonzalez Decl. ¶¶ 9-12; Park Decl. ¶¶ 18-26; Chen Decl. ¶¶ 18-23; Valdez Decl. ¶¶ 10-17;

Falcon Decl. ¶¶ 8-18; Valdez-Cox Decl. ¶¶ 18-23. In Queens County, New York, home to more

than half of New York City’s large Asian American population, many populations are

linguistically isolated and require contact in one of a variety of languages; many live in densely

populated, hard-to-count areas; and many have developed a profound distrust of the government.

Park Decl. ¶¶ 15-20. Community organizations, including Organizational Plaintiffs, are trusted

in the community and have a proven track record of improving census responses. Park Decl. ¶

10. The truncated timeline will undermine Organizational Plaintiffs’ outreach efforts, and make

them less effective. The same is true of Harris County, Texas, and Maricopa County, Arizona, in

which a substantial portion of the population resides in mobile homes or is homeless, further

exacerbating the challenge of counting them. Chen Decl. ¶ 19; Falcon ¶¶ 7-10, 17-21. Rural

areas face many of the same issues—linguistic isolation, distrust of government, lack of Internet


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access—but also several unique ones; rural populations are less dense, requiring more extensive

travel by enumerators, and many individuals also do not have a formal or permanent address at

which they can receive mail, including the entire community of Las Lomas in the Rio Grande

Valley. Valdez-Cox Decl. ¶¶ 7-8, 21-23, 27, 29-30.

       As Plaintiffs’ experts have testified, the differential in response rates can be substantially

mitigated by a longer and more thorough follow-up process. Conversely, a truncated follow-up

period will exacerbate the difference in response rates. Thompson Decl. ¶¶ 15-21; Hogan Decl.

¶¶ 8-17. If Defendants are permitted to move forward on the timeline they themselves so

recently disavowed, the Census will ultimately yield an unprecedented undercount of the U.S.

population. This undercount will have particularly harmful effects on Black, Latino, and Asian

American communities. O’Hare Decl. ¶ 1 (“Changing the end date of data collection in the 2020

Census from October 31, 2020 to September 30, 2020, will impact the quality of Census data for

Hispanic, Asians, and Blacks more than Non-Hispanic Whites.”). Specifically, many of the

cities and counties in which Plaintiffs live are statistically certain to experience a significant

undercount, with dire consequences.

       C.      Precedent Demonstrates That Plaintiffs Are Entitled to Relief

       The Census is performed in obedience to a constitutional command. The Constitution

requires that an “actual Enumeration ... be made within every subsequent Term of ten Years.”

U.S. Const. art. I, § 2, cl. 3. Although the Constitution grants Congress sole authority over the

census, Congress has delegated that power to the Secretary of Commerce to carry out the

Census. The Secretary’s discretion is not, however, without limit. The Secretary’s actions in

carrying out the Census must bear “a reasonable relationship to the accomplishment of an actual

enumeration of the population.” Wisconsin v. City of New York, 517 U.S. 1, 20 (1996). The

Secretary’s conduct must be “consistent with the constitutional language and the constitutional


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goal of equal representation.” Id. at 19-20 (quoting Franklin, 505 U.S. at 804). “[W]hen the

Census Bureau unreasonably compromises the distributive accuracy of the census, it may violate

the Constitution.” La Unión del Pueblo Entero v. Ross, 353 F. Supp. 3d 381, 393 (D. Md. 2018).

       In Wisconsin, the Court analyzed whether the Secretary’s decision on the matter in

dispute—whether to perform certain statistical adjustments—was consistent with “the

constitutional purposes of the census, viz., to determine the apportionment of the Representatives

among the States,” finding that the Secretary’s preference for distributive accuracy over

numerical accuracy was consistent with that purpose. 517 U.S. at 20. The Court further

emphasized “the importance of historical practice in this area,” finding that the Secretary’s

decision was consistent with “the traditional method of conducting the census.” Id. at 22.

       Here, Defendants do not point to any changed circumstances that suggest truncation of

enumeration is appropriate. Nothing suggests Defendants can complete an accurate count by the

end of 2020. Census Bureau Director Steven Dillingham could offer no reason for the truncation

when he testified to Congress other than to say that the Trump Administration wanted the Census

concluded by the end of the year. In fact, Defendants’ own public statements demonstrate that

the contemplated truncation of operations will prevent them from achieving “the constitutional

purposes of the census,” id. at 20. Defendants have stated publicly and repeatedly that more time

than the August 3 announcement provides is necessary to ensure “the completeness and accuracy

of the 2020 Census.”54 Truncating field operations and data processing will prevent

“accomplishment of an actual enumeration” through collection and processing of information

from all households, with deleterious effects on Plaintiffs’ communities. See supra I.A-B. The


54
       U.S. Census Bureau, Statement on 2020 Census Operational Adjustments Due to
COVID-19 (Apr. 13, 2020), https://www.census.gov/newsroom/press-releases/2020/statement-
covid-19-2020.html.


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inaccurate counts that will result will significantly compromise the distributive accuracy of the

Census and undermine the “constitutional goal of equal representation,” 517 U.S. at 19-20, by

depriving Plaintiffs and other Latinos, Asian Americans and immigrants of equal representation.

       Nor can Defendants argue that their truncation plan has any foundation in “historical

practice” or the “traditional method of conducting the census.” The global pandemic forced the

extraordinary suspension of Census field operations. Defendants have now announced their

intent to proceed with the shortest NRFU operation in modern history—52 days, compared to

periods of three to six months in previous censuses.55 Defendants’ suggestions about how they

might compensate for this departure from historical practice have been facially implausible and

swiftly discredited. The August 3 announcement claimed the Census Bureau could—through

measures including the “hiring of more employees”—“improve the speed of our count without

sacrificing completeness,”56 but the Department’s Inspector General has warned that the Census

Bureau has had difficulty “hiring and retaining sufficient numbers of field employees during the

shortened nonresponse followup (NRFU) operation” and is accordingly “at risk of not

conducting a complete and accurate 2020 Census.”57 Nor could increased staffing during post-

processing (even assuming a sufficient number of staff could be identified who possess the

training needed to execute the required complex statistical analysis) compensate for hiring

deficiencies at the NRFU stage or the compressed timeline. Hogan Decl. ¶ 17. Indeed, as one


55
       Infra n.10.
56
        See Statement from U.S. Census Bureau Director Steven Dillingham: Delivering a
Complete and Accurate 2020 Census Count (Aug. 3, 2020), https://www.census.gov/newsroom/
press-releases/2020/delivering-complete-accurate-count.html.
57
       U.S. Dep’t of Commerce, Office of Inspector General, 2020 Census Alert: The Census
Bureau Faces Challenges in Accelerating Hiring and Minimizing Attrition Rates for Abbreviated
2020 Census Field Operations (Aug. 18, 2020), https://www.oig.doc.gov/OIGPublications/OIG-
20-041-M.pdf. See also Thompson Decl. ¶ 21.


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expert has testified, the Bureau’s “policy setting and decision-making processes” are simply

“unable to adapt quickly to address the effects of [COVID-19]” on Census operations—which

have been “rattled” in multiple ways by the pandemic. O’Hara Decl. ¶ 8; id. ¶¶ 11-15.

       Defendants’ truncation of the timeframe to complete the Census is especially perverse in

the midst of a global pandemic and at a time when natural disasters that have forced evacuations

in many communities that will disrupt or prevent NRFU. The disruptions wrought by COVID-

19 are manifest. Meanwhile, more than 750,000 residents of Texas and Louisiana have been

forced to evacuate their homes in the wake of Hurricane Laura.58 In California, more than

100,000 residents have been evacuated in the wake of widespread wildfires, and thousands of

homes have been destroyed.59 And in one Florida city, Hurricane Michael caused approximately

30 percent of the population to relocate temporarily.60 These natural disasters are legitimate

threats to an accurate census count. Brace Decl. ¶ 23.

       As its primary rationale for proceeding on such a truncated schedule, the August 3

announcement invoked the “statutory deadline of December 31, 2020.”61 This statutory

deadline, see 13 U.S.C. § 141(b), cannot trump Defendants’ constitutional obligations. There is


58
        Weather.com, Hurricane Laura: Two C-130s Land in Port Arthur, Texas, for “Last
Chance” Evacuation; Louisiana Prepares for Storm Surge (Aug. 25, 2020),
https://weather.com/news/news/2020-08-26-hurricane-laura-texas-louisiana-evacuations-
preparations
59
        Wyatte Grantham-Phillips and Joel Shannon, About 560 wildfires burn in California as
more than 100,000 people evacuate: Here’s what we know (Aug. 21, 2020),
https://www.usatoday.com/story/news/nation/2020/08/21/california-wildfires-how-many-
burning-what-we-know/3406246001/.
60
       Mark McQueen, The Hidden Post-Natural-Disaster Threat: the 2020 Census,
Governing.com (May 19, 2020), https://www.governing.com/now/The-Hidden-Post-Natural-
Disaster-Threat-the-2020-Census.html.
61
        Statement from U.S. Census Bureau Director Steven Dillingham: Delivering a Complete
and Accurate 2020 Census Count (Aug. 3, 2020), https://www.census.gov/newsroom/press-
releases/2020/delivering-complete-accurate-count.html.


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“nothing sacred in the due date of the filing” of the total population figures with the President.

Carey v. Klutznick, 637 F. 2d 834, 837 (2d Cir. 1980). This is especially so where, as here, “the

work of the Census Bureau … is incomplete,” and where “a census undercount is inevitable,”

“the undercount is particularly large among minority populations,” and “Census Bureau

procedures were inadequate.” Id. at 837, 839. As here, the plaintiffs in Carey alleged the

following irreparable harm arising out of an inevitable undercount of minority populations: “the

dilution of the votes of [urban] residents, particularly members of minority groups vis-a-vis those

of other residents of the state with respect to the state legislature, and … [loss of] vast sums of

money distributed under federal revenue sharing and other programs with statutory formulas tied

to the census.” Id. at 837. The evidence here is, if anything, stronger than that proffered in

Carey. For example, although the plaintiffs in Carey successfully alleged that “the follow-up

check … by the postal service and census workers was wholly inadequate,” the 1980 NRFU did

not incorporate a historically short timeline with severe staffing shortages amid a global

pandemic and a series of natural disasters.

       Congress has expressed no intent “to sacrifice accuracy for the sake of timeliness.” City

of New York v. U.S. Dep’t of Commerce, 713 F. Supp. 48, 51 (E.D.N.Y. 1989). Thus, if the

Census Bureau demonstrates that accurate adjusted figures cannot be compiled by December 31

… this Court is empowered to grant it a reasonable extension of time.”

II.    Truncation of Census Operations Will Cause Irreparable Harm to Plaintiffs

       As four former Census Bureau Directors have confirmed, the early cessation of census

field operations and the associated limitations on data processing and quality check time will

inevitably lead to an under-enumeration of those individuals who have not yet responded to the

Census. That undercount will have a disparate impact on Black, Latino, and, in certain states,

Asian American communities, which have, historically and to date (judging by self-response


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rates in particular tracts with large populations of communities of color) demonstrated lower

response rates than the nation as a whole. O’Hare Decl. ¶¶ 125-127.

                   A. Loss of Political Representation

       Plaintiffs are at immediate and severe risk of losing political representation at the local,

state, and national levels. Communities of color likely will be undercounted in the 2020 Census,

and Defendants’ truncation of the timeline they themselves identified for completion will fatally

exacerbate that undercount. The resulting differential undercount will, in turn, diminish the

political representation of communities of color, including those in which Plaintiffs live, in state

and local redistricting. Thompson Decl. ¶ 4; O’Hare Decl. ¶¶ 123-125; Brace Decl. ¶¶ 32-33.

Furthermore, the undercount may well lead to malapportionment of congressional seats to some

of the states in which plaintiffs live, such as Texas, Florida, and New York. Brace Decl. ¶¶ 21-

30; O’Hare Decl. ¶¶ 95-96.

       An undercount because of low self-response rates could cost a congressional seat and

electoral vote in the State of Texas, to which Texas would otherwise be entitled. O’Hare Decl. ¶

95; Brace Decl. ¶¶21-30. Diminished political representation in Congress is an immediate and

irreparable injury of constitutional magnitude, if “there is a substantial risk that the harm will

occur.” Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2565, 204 L. Ed. 2d 978 (2019);

Reynolds v. Sims, 377 U.S. 533, 560-63 (1964); Wesberry, 376 U.S. at 1, 7-8 (1964). Such is the

case here, where the Defendants propose to end NRFU operations in just over one month,

inevitably leaving communities of color undercounted and underrepresented in the 2021

apportionment. Thompson Decl. ¶ 22; see also Brace Decl. ¶¶32-33.

       But Plaintiffs’ representational injury does not stop at the congressional level. The

anticipated undercount will have an independent effect of drawing Plaintiffs into artificially

overpopulated intra-state voting districts, affecting representation at all levels. Brace Decl. ¶ 33.


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States rely on census data to draw state legislative districts, and census undercounts result in

seats shifting away from regions in which people are undercounted.62 O’Hare Decl. ¶ 99; Brace

Decl. ¶ 33. For example, as a result of relatively faster population growth, Cameron and Hidalgo

counties, located in the Rio Grande Valley at the southern tip of Texas, gained a seat in the state

House of Representatives following the 2010 Census.63 As of August 30, 2020, self-response

rates in Cameron and Hidalgo counties are 49.3 percent and 51.4 percent respectively—well

behind the Texas self-response rate of 60.3 percent.64 The Rio Grande Valley is also currently

in the grip of the COVID-19 pandemic, with case rates higher than the national average as well

as other areas of Texas. Currently, Cameron County has witnessed 4,694 cases per 100,000

residents, while Hidalgo County has seen 2,890 cases per 100,000 residents.65 The significant

undercount that will inevitably result from truncating enumeration in Cameron and Hidalgo

counties may well result in the loss of the recently-gained state house seat, or the loss of an

additional seat in 2021 to which the Rio Grande Valley would otherwise be entitled, if the

undercount eliminates the population that contributed to the additional seat. The truncation of

field operations and data processing operations will therefore diminish Plaintiffs’ political

representation at every level of government, from local to national elections.




62
        See, e.g., Ariz. Const. art. 4, Pt. 2, § 1 (3); Cal. Const. art. 21, § 1; Fla. Stat. § 11.031(1);
N.J. Const. art. 4, § 2 ¶¶ 1, 3; Tex. Const. art. 3, § 26; Kravitz v. United States Dep’t of
Commerce, 366 F. Supp. 3d 681, 737 (D. Md. 2019) (where “a differential undercount of [a
particular population] of some magnitude is virtually certain to occur” because of a challenged
action, that action “creates the substantial risk that certain Plaintiffs will suffer vote dilution.”).
63
        Perez v. Texas, 891 F. Supp. 2d 808, 813 (W.D. Tex. 2012).
64
        U.S. Census Bureau, Response Rates (Aug. 25, 2020),
https://2020census.gov/en/response-rates.html.
65
       The New York Times, Coronavirus in the U.S.: Latest Map and Case Count (Aug. 25,
2020), https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html#states.


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       B.      Loss of Public Resources

       The harmful effects of an undercount are neither abstract nor speculative; they are real,

severe, and imminent. One effect of an undercount concerns eligibility for and allocation of

federal assistance, often targeted toward the same underserved communities in which many

Plaintiffs live. As Plaintiff’s expert has set forth, more than three hundred distinct federal

programs rely on census data to allocate over $1.5 trillion of domestic assistance funding

annually. Thompson Decl. ¶¶ 3, 13; Declaration of Andrew Reamer (“Reamer Decl.”), Ex. F, ¶

14. Some examples of federal programs that rely on census data for funding allocations include

Medicaid, Medicare, the State Children’s Health Insurance Program (CHIP), Social Security

block grants, the Supplemental Nutrition Assistance Program (SNAP), the National School

Lunch Program, and the Supplemental Income Program for Women, Infants, and Children

(WIC). Many in Plaintiffs’ communities, including Organizational Plaintiffs’ members, rely on

social services funded by such programs, including without limitation Medicaid, food stamps or

SNAP, CHIP, Community Development Block Grants, Section 8 housing, and Title I schools.

Falcon Decl. ¶ 21; Valdez-Cox Decl. ¶¶ 10-11. Those programs use census data to determine

eligibility requirements (i.e., who may receive federal funding); geographic allocations, or which

areas of the country are most in need of federal funding; selection criteria (for example, federal

project applications may be scored on the basis of population density or diversity); and interest

rates for federal loan programs (which can be determined, for example, on the basis of median

household income in a particular area). Reamer Decl. ¶¶ 15-20. As Plaintiffs’ expert has

explained, states, counties, and communities that are undercounted will suffer a loss of federal

funding to which they are otherwise entitled. Reamer Decl. ¶¶ 12-13.

       If Defendants’ current timeline remains in place, the economic impact in terms of federal

funding will be devastating—particularly in view of the fact that the programs identified above


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are specifically targeted toward underserved communities, including children, the disabled, the

elderly, and the economically disadvantaged. Those are often precisely the same communities

that are undercounted in the Census. Falcon Decl. ¶ 21; Valdez-Cox Decl. ¶¶ 10-11. Moreover,

as set forth above, several of these communities have been among the hardest hit by COVID-

19and are reliant on federally funded programs using census data, such as Medicaid, Medicare,

and CHIP, for medical assistance. See, e.g., Valdez-Cox Decl. ¶¶ 10-11. For example, New

York City has seen more than 238,000 diagnoses and over 23,000 deaths,66 and diagnoses are

well above state and national averages in the Rio Grande Valley of Texas. See supra at 35-36;

Valdez-Cox Decl. ¶¶ 40-46. A differential undercount will prevent these communities from

receiving the assistance they critically need in the wake of the pandemic, both with respect to

medical assistance programs generally and COVID-specific programs with allocations based on

census data. Invisibility in census data therefore harms those who need federal assistance the

most.

III.    The Balance of Equities and the Public Interest Support a Temporary Restraining
        Order or Preliminary Injunction

        When the government is opposing a TRO or preliminary injunction, the analyses of the

balance of equities and the public interest merge. J.O.P. v. U.S. Dep’t of Homeland Sec., 409 F.

Supp. 3d 367, 376 (D. Md. 2019) (citing Nken v. Holder, 556 U.S. 418 (2009)). Here, Plaintiffs

have shown numerous personal harms, including “loss of federal funding and vote dilution,” and

have further shown a broader public interest in preventing Defendants from “undermin[ing] the

Census’s primary constitutional purpose by unreasonably distorting the accuracy of ‘an actual

Enumeration.’” Kravitz v. United States Dep’t of Commerce, 366 F. Supp. 3d 681, 755 (D. Md.


66
       The New York Times, New York Coronavirus Map and Case Count (last updated Aug.
30, 2020), https://www.nytimes.com/interactive/2020/us/new-york-coronavirus-cases.html.


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2019). Defendants can offer no plausible rationale supporting the decision to truncate

enumeration and the truncation itself is undermined by “the Census Bureau’s own data and

analyses.” Id. at 751-52. In such circumstances, this Court has held, the balance of equities and

the public interest weigh in favor of injunctive relief.

                                          CONCLUSION

        Plaintiffs respectfully request that the Court enter a temporary restraining order enjoining

Defendants from halting the self-response period and census field collection operations prior to

October 31, 2020, and reporting the count of total population to the President prior to April 30,

2021.




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Dated: September 1, 2020          Respectfully submitted,

                                  By /s/ Terry Ao Minnis

                                  ASIAN AMERICANS ADVANCING JUSTICE |
                                  AAJC
                                  John C. Yang (IL Bar No. 6210478)*
                                  Niyati Shah (NJ Bar No. 026622005)
                                  Terry Ao Minnis (MD Bar No. 20547)º
                                  Eri Andriola (NY Bar No. 5510805)º
                                  1620 L Street, NW, Suite 1050
                                  Washington, DC 20036
                                  Phone: (202) 815-1098
                                  Facsimile: (202) 296-2318

                                  MEXICAN AMERICAN LEGAL DEFENSE
                                  AND EDUCATIONAL FUND
                                  Thomas A. Saenz (CA Bar No. 159430)º
                                  Nina Perales (TX Bar No. 24005046)º
                                  Andrea Senteno (NY Bar. No. 5285341)º
                                  Tanya G. Pellegrini (CA Bar No. 285186)º
                                  Daniel A. Hatoum (TX Bar No. 24099136)º
                                  1016 16th Street NW, Suite 100
                                  Washington, DC 20036
                                  Phone: (202) 293-2828
                                  Facsimile: (202) 293-2849

                                  WILMER CUTLER PICKERING
                                  HALE AND DORR LLP
                                  Debo P. Adegbile (NY Bar No. 2699742)
                                  Jamie S. Dycus (NY Bar No. 4523569)
                                  Alan E. Schoenfeld (NY Bar. No. 4500898)
                                  7 World Trade Center
                                  250 Greenwich Street
                                  New York, NY 10007
                                  Phone: (212) 230-880
                                  Facsimile: (212) 230-8888

                                  * Pro hac vice application forthcoming
                                  º Not admitted in DC.




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